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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff            )      Case No. 1:23-CR-00114
                                                 )
              v.                                 )
                                                 )      District Judge Timothy S. Black
SAMUEL RANDAZZO                                  )      Magistrate Judge Karen L. Litkovitz
                                                 )
                            Defendant            )
                                                 )
                                                 )

    DEFENDANT SAMUEL RANDAZZO’S MOTION FOR INTRADISTRICT TRANSFER

              Defendant, SAMUEL RANDAZZO, by and through his undersigned attorneys,

respectfully moves the Court, pursuant to Rule 18 of the Federal Rules of Criminal Procedure, to

transfer this case to the Eastern Division of the Southern District of Ohio in Columbus. Trial in

the Eastern Division would avoid significant inconvenience posed to Mr. Randazzo, the potential

witnesses, and any alleged victims should the case remain in the Western Division. Further,

transfer to the Eastern Division would promote the prompt administration of justice. As such,

Defendant respectfully asks the Court to exercise its discretion to transfer this matter to the Eastern

Division.

              A memorandum in support of this motion is attached.



/    /    /
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  Dated: February 8, 2024
                                        Respectfully submitted,

                                  By:   s/Andrew R. DeVooght__
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on February 8, 2024, I electronically filed the foregoing Motion for

Intradistrict Transfer, with the Clerk of Court using the CM/ECF system which will send

notifications of filings to all counsel of record.



                                                By:      s/Andrew R. DeVooght___
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